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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF DELAWARE




                                    :       HON. JUDITH K. FITZGERALD
In re:
                                    :                 Chapter 11
W. R. Grace & Co., et al.,
               Debtors.             :        Case No. 01-01139 (JKF)
                                              (Jointly Administered)




_________________________________________________________________

                 BRIEF IN SUPPORT OF MOTION SEEKING ORDER

                      TO FILE A LATE PROOF OF CLAIM

_________________________________________________________________



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                        Preliminary Statement

            It was impossible for the State of New Jersey, Department

of Environmental Protection (“State” or “Department”) to file a

timely proof of claim in this bankruptcy case, because the State

did not know, nor could it have reasonably contemplated, that W. R.

Grace had sworn to false information on its submissions to the

Department, and therefore was in violation of the law.              Whether it

is “excusable neglect” or some other factor upon which permitting

a late proof of claim can be based, this claim for penalties

resulting   from   Grace’s   fraudulent     assertions      about    hazardous

substances that posed a grave threat to the public health and

welfare and the environment, should be allowed.




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                            Statement of Facts

          W.R. Grace’s (“Grace”) former plant, located in Hamilton

Township, Mercer County, New Jersey (“the Plant”), is an “industrial

establishment” as that term is defined at N.J.S.A. 13:1K-8. The

Industrial Site Recovery Act (“ISRA”), N.J.S.A. 13:1K-6 et seq., was

enacted in 1983 (as the Environmental Cleanup Responsibility Act)

for the express purpose of preventing private businesses from

forcing the public to bear the expense of cleaning up abandoned

plant sites contaminated with hazardous substances.               In order to

achieve this goal, ISRA provides that, upon the closure, sale or

transfer of an industrial establishment, the owner or operator of

the industrial establishment must either submit a cleanup plan to

the Department detailing the measures necessary to detoxify the

property, or obtain a "negative declaration" from DEP that there has

been no discharge of hazardous substances or wastes or that any such

discharge has been cleaned up in accordance with procedures approved

by the Department and there remain no hazardous substances or wastes

on the property.   N.J.S.A. 13:1K-8.

          In June 1995, the Department approved W. R. Grace’s

Negative Declaration.       This approval was based on information

submitted and certified to by Grace in a Preliminary Assessment/Site

Investigation (PA/SI) and a Negative Declaration filed with the

Department pursuant to ISRA in June 1995.

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           The Plant was in operation for approximately 44 years

(1950 to 1994).    For many of those years, the Plant manufactured

asbestos-containing insulating material and soil supplements made

from a concentrated, asbestos-laden vermiculite ore primarily mined

from Grace’s Libby, Montana mine.      The insulating material and soil

supplements were made by expanding (exfoliating) the concentrated

vermiculite ore. Grace also manufactured other asbestos-containing

products at the Plant, including, but not necessarily limited to,

a fire protection product known as Monokote 1, which, prior to 1970,

contained 13 percent asbestos by weight.

       Despite the history of asbestos usage at the Hamilton Plant,

the PA/SI required by ISRA to be submitted to the Department

essentially declared that no sampling of the soil was necessary

because Grace did not use asbestos-containing materials at the

Plant.    In that regard, Grace represented that the vermiculite

processed at the Plant did not have an asbestos content of more than

one percent by weight, which is the regulatory threshold for

asbestos-containing materials. The Negative Declaration stated that

any hazardous substances that had been discharged at the Plant had

been   remediated in accordance with the Department’s Technical

Requirements for Site Remediation, N.J.A.C. 7:26E.             Both the PA/SI

and the Negative Declaration were certified by Defendants Bettacchi

and Burrill, who were Grace employees at the time, as accurate.




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            As a result of the representations made by Grace and

certified by Bettacchi and Burrill, the Department issued No Further

Action letters, which meant no cleanup was necessary, for the Plant

in August and November 1995.      Nothing further occurred at the Plant

until the United States Environmental Protection Agency (“USEPA”)

began to investigate certain vermiculite exfoliation plants across

the United States that had received large amounts of concentrated

vermiculite ore from the Libby, Montana mine.            In or about October

2000, the USEPA sampled the Plant and its surroundings. An analysis

of soil samples revealed significant concentrations of asbestos in

the soil at the Plant and its environs.            Though the EPA sampling

took place in 2000, the Department did not become aware of the

contamination until in or about the Fall of 2003, when it was asked

by the New Jersey Department of Health and Senior Services to

comment on a Health Assessment for the Plant.            By 2003, the extent

of the contamination, which in some samples was as high as 40

percent by weight, was delineated and excavation activities began.

Approximately 9,000 tons of asbestos-contaminated soil have been

removed from the plant environs, with approximately 6,000 tons more

slated for removal in the summer of 2006.

             On June 1, 2005, the Department filed suit against W.R.

Grace & Co. and W.R. Grace Co.-Conn. (“Grace”), Bettacchi, and

Burrill    (collectively,     “Defendants”)     seeking      civil    penalties

pursuant to ISRA and the New Jersey Spill Compensation and Control


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Act (“Spill Act”), N.J.S.A. 58:10-23.11 et seq.              The State action

seeks civil penalties against the Defendants for false statements

and misleading information contained in the PA/SI and the Negative

Declaration   filed   with   the   Department.       By     the   time     Grace’s

violations of the law were discovered by the State, the bar date for

filing a proof of claim, which had been March 31, 2003, had passed.

          In the meantime, ever since it initiated this action

against W. R. Grace, the State has been attempting to reach an

amicable conclusion to this matter.        This has recently proved to be

impossible because we could not reach a meeting of the minds as to

what the penalty should be.        When the State realized that, this

motion for a late Proof of Claim became inevitable.




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                            LEGAL ARGUMENT

          THE STATE OF NEW JERSEY, DEPARTMENT OF
          ENVIRONMENTAL PROTECTION, SHOULD BE ALLOWED TO
          FILE A LATE PROOF OF CLAIM BECAUSE IT WAS
          IMPOSSIBLE FOR THE STATE TO HAVE KNOWN IT HAD
          A CLAIM BEFORE THE BAR DATE.


          Fed. R. Bankr. P. 9006(b)(1) provides that when an act is

required to be done within a certain amount of time:

          the Court for cause shown can at any time in
          its discretion....(1) on motion made after the
          expiration of the specified period permit the
          act to be done where the failure to act was the
          result of "excusable neglect."


          The leading case on the issue of "excusable neglect" is

Pioneer Investment Services Co. v. Brunswick Associates Limited

Partnership, 507 U.S. 380 (1993). In Pioneer, a lawyer representing

a group of creditors filed a motion seeking an Order allowing him

to file a late proof of claim. The attorney’s excuse was that there

had been upheaval in his law firm, he left the firm and did not have

the file with the correspondence notifying him of the bar date in

it. He had other excuses, which the Court gave much more weight to,

like the fact that the notice of the bar date was included in the

letter announcing the date and time of the Section 341 meeting,

instead of in a separate document, thereby easier to overlook. The

motion was granted and appealed and reversed and appealed until it

reached the Supreme Court where the Court upheld the motion to file

a late proof of claim under the excusable neglect criteria.


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            The Court found that Congress, by empowering the courts

to accept late filings "where the failure to act was the result of

excusable neglect," Rule 9006(b)(1), plainly contemplated that the

courts would be permitted, where appropriate, to accept late filings

caused by inadvertence, mistake, or carelessness, as well as by

intervening circumstances beyond the party’s control.              507 U.S. at

389.    The determination of what kind of neglect would be considered

“excusable” is an equitable one, the Court opined, taking account

of all relevant circumstances surrounding a party’s omission. These

include the danger of prejudice to the debtor, the length of delay

and its potential impact on judicial proceedings, the reason for

delay, including whether it was within the reasonable control of the

creditor, and whether the creditor acted in good faith.               Id.

             It hardly seems to be "neglect" when there was no way

that the Department could have known of the claim before the bar

date, since the Department did not know of the violation at that

time.     Perhaps "intervening circumstances” beyond the State’s

control would be more to the point.

            In re Enron Corp, No. 01-16034, 2003 Bankr. LEXIS 2113,

(Bankr. S.D.N.Y., September 23, 2003) is an unpublished decision but

the case is directly on point. In Enron, the creditors claimed that

they failed to file timely claims before the bar date because the

information necessary to determine they had any claim against the

debtors regarding meter reading data errors was withheld by the


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debtors       until   after      the   bar    date.         This      is    much    like   the

Department’s case here, where the Department was unaware that Grace

had submitted false information until well after the bar date.

               The Enron Court found that the creditor was entitled to

file late proofs of claim based on excusable neglect, pursuant to

Fed. R. Bankr. P. 9006(b)(1).                 The court found that there was no

significant prejudice to the debtors because the debtors had not

filed a disclosure statement or plan of reorganization, and that

allowing the late claim would not have a disruptive effect upon the

debtors’ proposed plan.            Id at *22.        Citing Pioneer Inv. Services,

supra, the Enron Court found that in permitting a creditor’s late

filing under Bankruptcy Rule 9006(b)(1), the Supreme Court explained

that Congress, by empowering the courts to accept late filings where

the failure to act was the result of excusable neglect, plainly

contemplated that courts would be permitted, where appropriate, to

accept       late     filings     caused       by     inadvertence,           mistake,         or

carelessness, as well as by intervening circumstances beyond the

party’s control.

               Grace clearly falls within the four corners of the Enron

case.       Grace has submitted its First Amended Plan of Reorganization

but    it    has    not   been   confirmed,         there   is     no      date    set   for    a

confirmation hearing, and there has been no Disclosure Statement as

yet.    Most of the factors regarding whether there will be prejudice

to the debtor depend on how near a plan of reorganization is to


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confirmation. Id. at *20.         Although not absolutely certain, the

State believes that estimation hearings for asbestos claims have not

been completed as yet, so debtors do not know the sum total of the

claims in any event.     Debtors have known about our claim since June

1, 2005, so there is not any undue surprise.

            In Enron, there was no disclosure statement filed yet nor

a plan.     The court also found that allowing that claim would not

open the flood gates for similar claims, since the circumstances

were unique. Id.      So too are the facts here: there has been no

disclosure statement, the plan has not been confirmed, and the facts

are unique.




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                              CONCLUSION

          For the foregoing reasons, the State of New Jersey,

Department of Environmental Protection, respectfully requests that

this Court grant its motion to file a Proof of Claim for $31,XXX,000

in this matter.



                                Respectfully submitted,

                                STUART RABNER
                                ATTORNEY GENERAL OF NEW JERSEY



                           By: /S/ Rachel Jeanne Lehr
                                Rachel Jeanne Lehr
                                Deputy Attorney General



Dated: April 26, 2007




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